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                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

  THE STATE OF TEXAS, ET AL.              §
                                          §
                                          §
  v.                                      §          CIVIL NO. 4:20-CV-957-SDJ
                                          §
                                          §
  GOOGLE LLC                              §

                            ORDER OF SPECIAL MASTER

        By Order of the Court dated January 26, 2024 (Dkt. #213) the undersigned was

  appointed Special Master to address discovery issues and disputes between Plaintiff

  States (“States”) and Defendant Google LLC (“Google”). On June 26, 2024, the States

  filed their Motion to Compel Written Discovery Regarding Destruction of Google

  Chats (the “Motion”) (Dkt. #540). The Special Master ordered Google to respond to

  the Motion by July 5, 2024 (Dkt. #541), and Google did so. (Dkt. #545). On July 9,

  2024, the States filed a Notice of Supplemental Authority, alerting the Special Master

  to a recent court order issued in In re Google Play Store Antitrust Lit. (N.D. Cal.)

  (“Play”). (Dkt. 547). The Special Master held a hearing on the Motion via

  teleconference on July 10, 2024.

        The States’ Motion seeks an order compelling Google to: (1) provide the States

  with the start and end dates for any legal holds sent to Google’s custodians since

  January 1, 2015 (Interrogatory No. 31); (2) produce any litigation holds or reminders

  that were issued to any custodians, or the like, since January 1, 2018 (Requests for

  Production Nos. 126 and 127); (3) produce the “system-wide backend log” previously

  produced in Play (Request for Production No. 133); and (4) produce the transcript
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  and accompanying documents from the May 20, 2024 “Google Chat” deposition of

  Google’s corporate representative in The State of Texas v. Google LLC, Cause No. 22-

  01-88230 (377th Dist. Ct., Victoria County, Tex.) (the “Location Case”).

        Having fully considered the submissions and arguments of counsel, and for the

  reasons stated herein, the Special Master GRANTS IN PART and DENIES IN PART

  the States’ Motion. The Special Master GRANTS the States’ requests that Google: (1)

  provide a full answer to the States’ Interrogatory No. 31; and (2) produce responsive

  documents to Requests for Production Nos. 126, 127, and 133 (as modified below).

  The Special Master DENIES the States’ request for the Location Case deposition

  transcript and documents.

        LEGAL STANDARD

        It is well-established that “control of discovery is committed to the sound

  discretion of the trial court.” Williamson v. U.S. Dep’t of Agric., 815 F.2d 368, 382 (5th

  Cir. 1987). Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties may obtain

  discovery regarding any non-privileged matter that is relevant to any party’s claim

  or defense and proportional to the needs of the case.” FED. R. CIV. P. 26(b)(1). Both

  Rule 26(b)(1) and this District’s Local Civil Rule 26(d) provide guidance in evaluating

  whether the requested discovery is both relevant and proportional. See FED. R. CIV.

  P. 26(b)(1) (stating that the factors to consider include the “importance of the issues

  at stake in the action, the amount in controversy, the parties’ relative access to

  relevant information, the parties’ resources, the importance of the discovery in

  resolving the issues, and whether the burden or expense of the proposed discovery

  outweighs its likely benefit.”); E.D. TEX. L. R. CV-26(d) (including 5 factors guiding


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  relevant discovery). Rule 26(b) “has never been a license to engage in an unwieldy,

  burdensome, and speculative fishing expedition.” Crosby v. La. Health Serv. &

  Indem. Co., 647 F.3d 258, 264 (5th Cir. 2011) (internal quotation marks and citation

  omitted).

        When considering whether “discovery-on-discovery” is appropriate, courts

  “have insisted that the documents that have been produced permit a reasonable

  deduction that other documents may exist or did exist and have been destroyed.”

  Hubbard v. Potter, 247 F.R.D. 27, 29 (D.D.C. 2008); accord Tijerina v. Stanley, Civ.

  A. No. 5:16-cv-102, 2019 WL 1396964, at *4 (E.D. Tex. Mar. 28, 2019) (“[H]e asserts

  there were other medical records which would have supported all of his allegations;

  however, he offers nothing to suggest that any such records exist.”).

        ANALYSIS

        The States argue that their Motion should be granted because there is evidence

  supporting a reasonable deduction that: (1) Google employees destroyed or failed to

  retain Chats at Google’s direction; and (2) additional written discovery can fill in the

  gaps left by Google’s document destruction. (Dkt. #540 at 7–13). The States rely

  heavily on the Rule 30(b)(6) deposition on Google Chats that the Special Master

  recommended and the Court ordered. (Dkt. #428 at 8); (Dkt. #452 at 1). The States

  further urge that the factual record is amply sufficient to permit more (but still

  limited) discovery. The States additionally argue that any objections on the basis of

  relevance, proportionality, or privilege are without merit. (Id. at 13–15). The States

  therefore request an order compelling Google to respond to the States’ Interrogatory

  No. 31 in full, produce documents responsive to the States’ Requests for Production


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  Nos. 126, 127, and 133, and produce the transcript and documents from the May 20,

  2024 Google Chats deposition in the Location Case. (Id. at 15).

        In response, Google re-urges an argument it previously presented to the

  Special Master; namely, that Google promptly disclosed its Chat retention policies to

  the States in 2020 and the States did not object until much later. (Dkt. #545 at 8–10).

  Google further argues that the evidence does not support the States’ theory of

  destruction—for example, the States rely on the testimony of two employees who left

  the display ads business before Google’s retention obligation arose in this case. (Id.

  at 10–11). Google also argues that statements relating to turning “history off” for

  Chats are taken out of context by the States. (Id. at 11–13). Additionally, Google

  argues that the States have not shown that they are entitled to further discovery

  regarding Chats. (Id. at 13–15).1

        As a preliminary matter, the Special Master and Court already found that the

  States had submitted sufficient proof to meet their burden and that limited discovery




  1 Relying on the work of a forensic technology director at KPMG, Google now claims
  that the difference between its Chat productions and email productions is far
  narrower. (See Dkt. #545 at 6–7, 10). At the April 18, 2024 hearing, Google asserted
  that it had produced approximately 13,000 Chats. (See Apr. 18 Hrg. Tr. at 78). Google
  now claims that the metric should not be Chat “conversations,” but individual Chat
  messages. (See Dkt. #545 at 41). When considering that metric, Google claims that it
  has produced “approximately 470,410 individual messages.” (See id. at Ex. 1). Google
  accordingly argues that further discovery on the Chat-front is unwarranted. While
  the Special Master recognizes the distinction Google is making, there is still a
  significant disparity between the Chats and emails produced in this case. More
  importantly, it is not the amount of communications produced that concerns the
  Special Master, but rather Google’s compliance (or lack thereof) with its independent
  preservation obligation. (See Dkt. #428 at 8). Google’s distinction between
  conversations and individual messages does not alleviate that concern.


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  on discovery was justified because the evidence in this case “permits a reasonable

  deduction that Chats were not preserved[.]” (Dkt. #428 at 8); (Dkt. #452 at 1). The

  Special Master and the Court accordingly ordered limited discovery on discovery in

  the form of a Rule 30(b)(6) deposition and denying additional written discovery

  without prejudice, and stated that the States could seek later “written discovery if

  deposition testimony or other evidence warrants it.” (Dkt. #428 at 8); (Dkt. #452 at 1)

  (adopting the Special Master’s Report and Recommendation).

        The question before the Special Master now is whether additional discovery on

  discovery is warranted. The Special Master finds that the evidence amply “warrants”

  and “justifies” the limited additional discovery on discovery contemplated in the

  Special Master’s and Court’s prior findings. (Dkt. #428 at 8); (Dkt. #452 at 1).

        Google, however, argues that the Special Master must find good cause to

  modify the previously issued protective order before additional discovery on discovery

  may proceed. (See Dkt. #545 at 8) (citing United States v. Homeward Residential,

  Inc., No. 4:12-CV-461, 2016 WL 279543, at *4 (E.D. Tex. Jan. 22, 2016))). The Special

  Master is unconvinced. Although the States’ request for broader discovery was

  initially denied, the Special Master and the Court expressly noted that the denial was

  without prejudice to the instant Motion. (Dkt. #428 at 8); (Dkt. #452 at 1). The

  discovery ordered here thus does not require modification to the previous Order. Good

  cause is accordingly unnecessary. Regardless, the Special Master specifically finds

  that the States have submitted more than sufficient additional evidence—especially

  from the Rule 30(b)(6) deposition of Google’s corporate representative on Chats—that




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  good cause does exist to allow for limited, additional discovery on discovery as

  discussed below.2

         a.     Interrogatory No. 31: Litigation Hold Start and End Dates

         The States first seek a full answer to the States’ Interrogatory No. 31, which

  asks Google to “[p]rovide the start and end dates for any legal holds applicable to any

  custodian identified in this matter from January 1, 2015 to the present.” (Dkt. #540

  at 12) (citing Dt. #348-1). According to the States, Google’s litigation holds “can reveal

  (a) who was reminded to preserve relevant Chats and when, (b) what they were

  instructed to do, and thus (c) the scope and degree of Google’s non-compliance with

  its preservation obligations”—all of which Google’s corporate representative could not

  sufficiently answer. (Id.).

         For its part, Google agreed to provide start and end dates for legal holds

  applicable to custodians in this case dating back to September 2019, but it objects to

  “starting in 2015 as Plaintiffs requested” because it claims it “had no obligation to

  retain Chat messages in this case prior to September 2019[.]” (Dkt. #545 at 13).

         The Special Master agrees with the States that Google anticipated litigation

  concerning the antitrust and regulatory issues regarding ad tech, including

  DoubleClick, far before 2019. As argued at the hearing, Google’s own privilege logs

  assert attorney client and work product privilege over DoubleClick- and ad tech-

  related communications as far back as 2006. (See Jul. 10 Hrg. Tr. at 21–25) ([States’


  2 The Special Master additionally notes that Special Master has the judicially-
  delegated authority to now permit further discovery previously not allowed without
  prejudice, subject to Rule 53’s objection procedures. (See Dkt. #213 at 4, 9) (ordering
  that the Special Master has the authority to oversee “all discovery in this matter”).


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  Counsel]: “And it’s not just me that says Google anticipated litigation as far back as

  2006. This is their privilege log, Your Honor. This is what Google told us and told the

  Court, they have relevant documents beginning in 2006[.]”); (see id. at 24) ([States’

  Counsel]: “[L]ook at 2013 privilege log. The FTC investigation of DoubleClick. They

  had an obligation to preserve that.”).

        Despite Google contending, even admitting, that it anticipated litigation and

  therefore resisted discovery on the basis of privilege—as shown by Google’s own

  privilege log entries dating back to 2006—the States asserted that many of Google’s

  custodians in this action did not receive litigation holds until 2021 or 2023. (See Jul.

  10 Hrg. Tr. at 44). Google did not rebut this claim. Further, Google’s corporate

  representative was unable to provide the States with answers as to who received

  litigation holds or when they received the holds. (See id. at 45). And the Special

  Master’s concern over Google’s preservation efforts are only compounded by Google’s

  continued reliance on privilege objections grounded on anticipation of litigation as a

  shield to refuse the production of documents well before 2019, while simultaneously

  insisting that its preservation obligations in this case did not arise until 2019 when

  it first anticipated litigation upon notice from the State of Texas. See Jolivet v.

  Compass Group USA, Inc., 340 F.R.D. 7, 20 (N.D. Tex. 2021) (noting that “courts

  generally recognize that a privilege cannot be used simultaneously as both a sword

  and a shield”); Barry v. Medtronic, Inc., No. 1:14-CV-104, 2016 WL 3583620, at *5




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  (E.D. Tex. May 9, 2016) (same); Willy v. Admin Review Bd., 423 F.3d 483, 497 (5th

  Cir. 2005) (same).3

        The Special Master already found that Google had an obligation to preserve

  relevant information beginning in September 2019 and that its retention policies fell

  short of its duty. (Dkt. #428 at 6). Indeed, it is undisputed that Google substantially

  modified it policies after serious questions arose as to the sufficiency of its compliance

  with preservation policies and independent discovery obligations. Google’s corporate

  representative’s deposition testimony did not alleviate the Special Master’s concerns.

  In fact, that entity deposition only confirms and amplifies those concerns. (See, e.g.,

  Dkt. # 540, Ex. C at 136: 613) (“




                                                   ”). The deposition testimony for Google

  as an organization, as the States summarized and Google did not contest, evidences

  that Chat history is only preserved if two steps are taken: (1) a Google employee must

  toggle his/her Chat history “on”; and (2) that employee must be subject to a litigation




  3 The States also emphasized the recent rulings and finding in Play that there is “an
  ingrained systemic culture of suppression of relevant evidence within Google.” (Dkt.
  #547 at 1–2) (citing Play, 2024 WL 3302068, at *15). The Special Master has
  previously recognized that Chat retention policies and the litigation hold notices and
  related issues in this case and in Play were similar, if not the same. (Dkt. #428 at 7)
  (citing Apr. 18 Hrg. Tr. at 79). But the Special Master remains concerned with what
  Google has done (or not done) in this case to meet its preservation obligations, not in
  Play. Therefore, while Play illustrates that other another federal court has been very
  troubled by Google’s preservation efforts, the Special Master limits the inquiry to the
  issues in this case.


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  hold. (See Jul. 10 Hrg. Tr. at 30) (See also Dkt. #540 at Ex. C (citing 18:21-19:5, 50:11-

  51:1, 52:23-53:7, 79:20-80:12, 101:3-101:12)). In other words, if an employee was not

  subject to a litigation hold at a particular date and time, there is no possibility that

  the employee’s Chat history was preserved, making the start and end dates of

  Google’s litigation holds a critical fact in this case. (See id.).

         In short, the Special Master has ample evidence to further support a

  reasonable deduction that relevant Chats were not preserved or were destroyed and

  that Google may not have complied with its duty to preserve relevant documents and

  communications. See Beck v. Access E Forms, LP, No. 4:16-CV-00985, 2018 WL

  3752842, at *1 (E.D. Tex. Aug. 8, 2018) (“The obligation to preserve evidence arises

  when the party has notice that the evidence is relevant to litigation or when a party

  should have known that the evidence may be relevant to future litigation.” (citation

  omitted)); FED. R. CIV. P. 37(e) Advisory Committee’s Notes to 2015 Amendment

  (“Many court decisions hold that potential litigants have a duty to preserve relevant

  information when litigation is reasonably foreseeable.”). Accordingly, the States have

  met their burden for additional, limited discovery on discovery via Interrogatory No.

  31. See Hubbard, 247 F.R.D. at 29; Homeward Residential, 2016 WL 279543, at *4.

         b.     Requests for Production Nos. 126 & 127: Litigation Holds and
                Reminders

         While Google only objects to the time period of Interrogatory No. 31, it objects

  to the States’ next requests in their entirety. The States’ Requests for Productions

  Nos. 126 and 127 ask Google to provide the States with “[a]ny litigation hold(s) or

  hold notice(s)” and “[a]ny litigation hold reminder(s)” that were “issued to any



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  custodian, deponent, or person likely to have discoverable information identified in

  this matter from January 1, 2018 to the present.” (Dkt. #540 at 12) (citing Dt. #348-

  2). Google, however, insists that its litigation holds are privileged. (Dkt. #545 at 14)

  (citing Retractable Techs. Inc. v. Abbott Lab’ys, Inc., 2010 WL 11531179, at *4 (E.D.

  Tex. May 20, 2010)).

        Multiple district courts have found that litigation holds are generally protected

  by the attorney-client privilege or work product doctrine. See, e.g., Cannata v.

  Wyndham Worldwide Corp., No. 2:10-CV-00068, 2011 WL 3495987, at *2 (D. Nev.

  Aug. 10, 2011) (“In general, unless spoliation is at issue, a litigation hold letter is not

  discoverable, particularly where it is shown that the letter includes material

  protected by the attorney-client privilege or the work product doctrine.”) (emphasis

  added); Gibson v. Ford Motor Co., 510 F. Supp. 2d 1116, 1123 (N.D. Ga. 2007) (finding

  that a litigation hold letter was not discoverable as it likely constituted attorney

  work-product); Muro v. Target Corp., 250 F.R.D. 350, 360 (N.D. Ill. 2007) (finding

  after in camera review that “the litigation hold notices, on their face, appear to be

  privileged material”).

        If there is a preliminary showing of spoliation, however, courts have found that

  litigation holds become discoverable. See, e.g., Major Tours, Inc. v. Colorel, No. CIV

  05-3091, 2009 WL 2413631, at *2 (D.N.J. Aug. 4, 2009) (citing Zubulake v. UBS

  Warburg LLC, 229 F.R.D. 422, 425 nn.15–16 (S.D.N.Y. 2004)).

        Google does not address any of the foregoing law. Instead, Google cites this

  Court’s opinion in Retractable Technologies for the general proposition that




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  “litigation holds . . . are privileged.” (Dkt. #545 at 14). But Judge Folsom in

  Retractable Technologies actually made no such finding as to privilege. On the

  contrary, the Court there explicitly stated that it “need not decide whether the

  privilege or work product protection would apply to the actual document retention

  policy per se.” Retractable Techs., 2010 WL 11531179, at *4. Judge Folsom allowed

  discovery as to the facts surrounding the retention policies, but denied further

  production. Id. Additionally, the discovery record in this case appears to be at a much

  different posture than Retractable Technologies. Neither the States nor Google

  provided the Special Master with any binding authority on the privileged status of

  legal holds, and the Special Master likewise did not find any controlling authority

  within the Eastern District of Texas or the United States Court of Appeals for the

  Fifth Circuit. Moreover, Google provides no evidence to support and meet its burden

  of establishing that its litigation holds are actually privileged.

        Although there is a lack of controlling authority, the Special Master finds that

  the States have made a preliminary showing of spoliation, that Google has not carried

  its burden to prove privilege, and that Google’s litigation holds are therefore

  discoverable in part. See Major Tours, 2009 WL 2413631, at *2. Further, the Special

  Master’s finding is bolstered by Google’s use of its litigation hold as both a sword and

  a shield, as it urges in its opposition to the Motion as follows:




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  (Dkt. #545 at 3). Google cannot claim compliance with its preservation duties by

  merely asking the Court and parties to accept its description of its litigation hold on

  the one hand, while refusing the States the opportunity to verify that alleged

  compliance on the other hand by actually reviewing the hold notices themselves. See

  Jolivet, 340 F.R.D. at 20; Barry, 2016 WL 3583620, at *5; Willy, 423 F.3d at 497.

        That said, the Special Master finds that the litigation holds need not be

  produced in their entirety. Instead, Play provides a reasonable alternative, which

  Google itself recognized in its briefing. (Id. at 3 n.2) (citing Hrg. Tr. at 42:8–43:3, In

  re Google Play Store Litigation, No. 21-md-02981 (N.D. Cal. Jan 12, 2023) (“I’m

  taking the position that you can ask the questions and you’re not going to face a

  waiver.”)). Following Play, the Special Master orders Google to produce all of the

  relevant and “specific instructions regarding the preservation of Google Chats and

  Hangouts” set forth in all of the Litigation Holds to the States. Google’s production

  will not amount to a waiver of privilege, to which the States agreed during the 10

  hearing. (See Jul. 10 Hrg. Tr. at 73–74).




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        c.     Request for Production 133: System-Wide Backend Logs

        The States also request the “system-wide backend logs” that Google previously

  produced in Play under the States’ RFP No. 133. According to Google’s corporate

  representative, this log “shows when each employee captured by the log turned their

  Chat history on or off during a running 55-day period.” (Dkt. #540 at 12)

  (summarizing Google’s corporate representative’s testimony). The States stress that

  this log is “the only record . . . of Google’s real-time document destruction in practice.”

  (Id. at 13). Google counters that the States’ request amounts to a mere “fishing

  expedition that is not proportional to the needs of this case in light of the mountain

  of existing discovery that disproves the theory underpinning Plaintiffs’ Motion.” (Dkt.

  545 at 15). Google also emphasizes that of the 180 custodians in this case, “only seven

  overlap with those in the Play case, meaning that the system[-]wide backend log

  largely pertains to irrelevant custodians.” (Id.).

        The system-wide backend logs provide evidence directly relevant to when

  Google employees were turning their Chat history on or off, which Google itself has

  put at issue in this case due to its inadequate retention policies. (See Dkt. #428 at 8).

  Because Google’s corporate representative could not provide further, relevant

  information on Google’s practices at the deposition, the States have met their burden

  in seeking further limited discovery. Additionally, because this evidence readily

  exists in an already-produced form—as it was produced in Play—the Special Master

  finds that the system-wide backend logs from Play are proportionate and free from

  any burden to Google.




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        At the hearing, the States asserted that they were moving for production of

  both the system-wide backend logs produced in Play and for a backend log “specific

  to the last 55 days.” As the Special Master stated at the hearing, the States’ Motion

  does not move for anything other than the backend logs produced in Play. (See Jul.

  10 Hrg. Tr. at 42–44). Accordingly, Google is only ordered to produce the backend logs

  produced in Play.

        d.     The May 20, 2024 Deposition Transcript from the Location Case

        Finally, the States seek the deposition transcript and accompanying

  documents from the May 20, 2024 Google Chats deposition in the Location Case.

  According to the States, Google’s corporate representative’s testimony in the Location

  Case “can confirm, explain, expand, or impeach what [he] told the States” in his

  deposition taken in this case the business day before. (Dkt. #540 at 13). Google

  responds that the States have not met their burden to import discovery from an

  unrelated location or privacy case into this antitrust (and DTPA) suit. (Dkt. #545 at

  14–15).

        The Special Master agrees with Google. The States have not cited any

  authority that allows for discovery on discovery for “impeach[ment]” purposes under

  any similar circumstances. And seeking access in this case to a second deposition in

  an unrelated privacy case—taken the next business day—that is alleged to “confirm,

  explain or expand” the testimony given by the same witness the day before is simply

  not compelling. Indeed, these three alleged grounds appear to be cumulative.

  Moreover, the States were permitted a full Rule 30(b)(6) deposition in this case and

  there is no showing that the deposition opportunity was insufficient Without the


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  requisite showing related to this particular issue—see Hubbard, 247 F.R.D. at 29—

  the Special Master will not order the production of deposition transcript and exhibits

  from the unrelated Location case.

        CONCLUSION

        For the reasons stated herein, the Special Master GRANTS IN PART and

  DENIES IN PART the States’ Motion. The Special Master GRANTS the States’

  Motion as to its requests for a full answer to the States’ Interrogatory No. 31 and the

  production of responsive documents to Requests for Production Nos. 126 and 127 as

  ordered herein, and Request No. 133. The Special Master DENIES the States’ request

  for the Location Case deposition transcript and documents.

        It is therefore ORDERED that Google:

        (1) provide a full answer to the States’ Interrogatory No. 31 within seven (7)

            days of the filing of this Order;

        (2) produce responsive documents to Requests for Production Nos. 126 and 127,

            as modified by this Order, within seven (7) days of the filing of this Order;

            and

        (3) produce responsive documents to Request for Production 133 within seven

            (7) days of the filing of this Order.




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        Signed this 15th day of July, 2024.




                                              _________________________________________________________________________
                                              David T. Moran
                                              Special Master
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                              CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing Order of Special Master was filed

  electronically in compliance with Local Rule CV-5(a) on this 15th day of July, 2024

  and was served on all counsel who are deemed to have consented to electronic service

  by electronic mail.




                                            _________________________________________________________________________
                                            David T. Moran

            CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
        Pursuant to the Court’s Order Appointing Special Master (Dkt. No. 213), I

  certify that the Court has already granted authorization to seal this document.

        Date: July 15, 2024




                                            _________________________________________________________________________
                                            David T. Moran




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